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                          IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,            )
                                     )
               Plaintiff,            )                    CRIMINAL ACTION
                                     )
v.                                   )                    No. 06-20056-10-KHV
                                     )
ANTONIO BENNETT,                     )
                                     )
               Defendant.            )
_____________________________________)

                                                ORDER

       This matter is before the Court on defendant’s letter (Doc. #716) which the Court received on

September 30, 2009, and construes as a motion for copies of transcripts. For reasons stated below, the

Court overrules defendant’s motion.

       Initially, the Court overrules defendant’s motion because defendant is represented by counsel.

See United States v. Sandoval-DeLao, 283 Fed. Appx. 621, 625 (10th Cir. 2008) (no error in refusal

to consider pro se motion when defendant represented by counsel); United States v. Castellon, 218 Fed.

Appx. 775, 780 (10th Cir. 2007) (if criminal defendant represented by counsel, court does not accept

pro se filings or allegations); United States v. McKinley, 58 F.3d 1475, 1480 (10th Cir. 1995) (no

constitutional right to “hybrid form of representation”). In any event, defendant has not shown a

particularized need for copies of the transcripts. See Brown v. N.M. Dist. Court Clerks, 141 F.3d 1184,

1998 WL 123064, at *3 n.1 (10th Cir. Mar. 19, 1998) (to obtain free copy of transcript, habeas

petitioner must demonstrate claim not frivolous and materials needed to decide issue presented by suit);

United States v. Sistrunk, 992 F.2d 258, 260 (10th Cir. 1993) (under 28 U.S.C. § 753(f), indigent

defendant entitled to free copy of transcript on showing of particularized need); Ruark v. Gunter, 958

F .2d 318, 319 (10th Cir. 1992) (prisoner does not have right to free transcript simply to search for error
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in record); see also United States v. Lewis, 37 F.3d 1510 (Table), 1994 WL 563442, at *1 (10th Cir.

Oct. 14, 1994) (same standard as transcripts can be applied to prisoner requests for pretrial records).

       IT IS THEREFORE ORDERED that defendant’s letter (Doc. #716) which the Court received

on September 30, 2009, and construes as a motion for copies of transcripts, be and hereby is

OVERRULED.

       Dated this 30th day of October, 2009, at Kansas City, Kansas.

                                                       s/ Kathryn H. Vratil
                                                       KATHRYN H. VRATIL
                                                       United States District Judge




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